 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 1 of 88

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS ~

Civil Action ‘Na. 00-12385PBS:

 

)

PALEY & TUCKER, )
)

Plaintiff, )

)

V. )

)

DOMINION TEXTILE, INC. and )
CHARGEUR'S TEXTILES, )
)

Defendants. )

)

 

ANSWER AND CROSSCLAIM OF DEFENDANT CHARGEURS TEXTILES S.A.

For its answer and crossclaim, defendant Chargeurs Textiles S.A. ("Defendant
Chargeurs") states as follows:

1, Defendant Chargeurs is without sufficient information to admit or deny the
allegations of paragraph 1.

2. Denied.

3. Defendant Chargeurs is without sufficient information to admit or deny the
allegations of paragraph 3.

4. Defendant Chargeurs admits that the property for which this action has been filed
is located at 51 Armstrong Road, Plymouth, Massachusetts. All other allegations not admitted
are denied.

5. Defendant Chargeurs admits that a lease, dated October 25 of an unstated year, is
attached to the Complaint. Defendant Chargeurs is without sufficient information to admit or

deny the remaining allegations of this paragraph.

DOCKETED

42

 

 
 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 2 of 88

LUNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

DISABILITY LAW CENTER, INC.,

Plaintiff
CIVIL ACTION NO. 00-10789-PBS
Vv.

)

)

)

)

)

)
EMMA RIEL, as guardian of }
LORETTA RIEL, and GERALD g. )
MORRISSEY, in his official )
capacity as COMMISSIONER OF )
THE DEPARTMENT OF MENTAT, }
RETARDATION, )
Defendants )

)

 

MEMORANDUM AND ORDER
February 5, 2001

SARIS, U.S.D.Jd.
I. INTRODUCTION

Plaintiff Disability Law Center (“DLC”) brings this action
seeking injunctive and declaratory relief pursuant to 42 U.S.C. §
1983 and the Developmental Disabilities Assistance and Bill of
Rights Act (“the Act”), 42 U.S.c. S 6000 et seq.,* to compel the
guardian of an adult mentally retarded woman, Loretta Riel, and

the Commissioner of the Massachusetts Department of Mental

 

‘After the hearing, 42 U.S.C. S$ 6000 et seq. was amended by
the Developmental Disabilities Assistance and Bill of Rights Act
of 2000, Pub. L. No, 106-402, 114 Stat. 1677, 1714, § 143(a) (1).
Although the numbering and format of many of the statute’s
provisions have changed, the substance of the relevant amended
statutory sections does not appear to differ in significant ways.
I will continue to cite to the uU.s. Code sections cited in the
briefs and the case law.

A7

 

 

 
 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 3 of 88

Retardation (“DMR”) to provide access to Ms. Riel’s records. As
the Protection and Advocacy system (“P&A”) appointed by the state
of Massachusetts pursuant to the Act “to protect and advocate the
rights of individuals with developmental disabilities,” 42 U.S.c.
S$ 6042(a) (1), the DLC claims that it needs these records to
investigate an incident of alleged abuse, but that the guardian
has not consented to access. The Commissioner has moved for
summary judgment on the ground that the guardian has the right to
refuse access pursuant to § 6042 (a) (2) (I) (iii). The plaintiff
has cross-moved for summary judgment.°

After a hearing, Defendant Morrissey’s Motion for Summary
Judgment is DENIED, and Plaintiff’s Motion for Summary Judgment
is ALLOWED.

II. BACKGROUND

Loretta Riel* is a fifty-year-old woman with mental
retardation and other developmental disabilities, residing at the
Glavin Regional Center, an Intermediate Care Facility for the
Mentally Retarded operated by the Massachusetts Department of

Mental Retardation. On the evening of December 31, 1998, staff

 

*The Court denies Plaintiff’s Motion to Withdraw the Motion
for Summary Judgment, because the affidavit of Steven R. Hennigan
does not create disputed issues of material fact and because it
is tardy.

With no disrespect meant to Ms. Loretta Riel or her
guardian, Ms. Emma Riel, I will refer to each woman by her first
name because the last names are the same.

2

 

 

 
 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 4 of 88

at Glavin prevented Loretta from making a phone call to her
family. Upset at being denied the phone call, Loretta sat down
on the floor. Staff then put Loretta on a chair in the hallway.
Loretta threw herself out of the chair and put her foot under a
laundry cart. Staff then forcibly pulled Loretta away, causing
her foot to be cut by the laundry cart, and dragged her from the
hallway to her room on a blanket.

Believing that the actions of the staff constituted illegal
restraint and abuse, the Glavin Human Rights Committee (“GHRC”)
filed an investigation complaint with the facility alleging
illegal use of a restraint, mistreatment, and physical abuse, and
requested reconsideration of the “Corrective Action Plan” portion
of the report. When the reconsideration request was denied, the
GHRC filed an appeal with the Commissioner of the Department of
Mental Retardation. In March 1999, a second complaint was filed
by the Human Rights Officer at Glavin. According to Steven R.
Hennigan, GHRC chairperson, “[t]his second investigation
substantiated that mistreatment and emotional abuse occurred in
the use of a number of restraints and other interventions which
were systematically used when Ms. Riel exhibited difficult
behaviors.” (Hennigan Aff. 1 7) Just as with the first
investigation teport, the GHRC believed that the Corrective

Action Plan from the second investigation also would not

adequately protect Loretta from the possibility of future

 

 

 
 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 5 of 88

mistreatment. The reconsideration request was again denied, and
the GHRC appealed to the Commissioner of the Department of Mental
Retardation for the second time.

On August 12, 1999, the Glavin Human Rights Officer
contacted the Disability Law Center, which is the Massachusetts
Protection and Advocacy system, seeking representation for
Loretta regarding the Corrective Action Plan appeal and related
matters, In turn, the DLC contacted Emma Riel, who is Loretta
Riel’s legal guardian and sister-in-law, once by telephone and
three times by letter, explaining the DLC’s role as the
Massachusetts P&A system and requesting the guardian’s permission
to access Loretta’s records for an investigation. The DLC never
received a response to its letters and, at one point, on December
15, 1999, was informed by the Human Rights Officer at Glavin that
the guardian was refusing to sign the Release of Information form
that had been sent to her by the DLC.

Emma Riel is an attentive guardian. She visits with Loretta
once a month and speaks with her by telephone between visits.
Emma frequently contacts Glavin staff by telephone and inquires
about Loretta’s progress and care. Emma also attends Loretta’s
annual team meeting, reviews her behavior plans, and visits her
workshop at Glavin. Emma asserts that after she discussed the

December 1998 incident with members of the staff at Glavin and

reviewed the investigation report and action plans concerning the

 

 

 
 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 6 of 88

incident, she was satisfied that the matter “was handled in the
best way by staff considering Loretta’s condition and behaviors.”
(BE. Riel Aff. 7 5.) In addition, the guardian has concluded that
“the investigation of the incident was adequately conducted and
that Loretta’s rights to be free from abuse and illegal restraint
are not at risk. . . . Because [she] did not believe that further
investigation was necessary and because [she] feel[s] that
further investigation would be disturbing and harmful to Loretta,
[Emma] chose not to sign the Release.” (EF. Riel Aff. @9% 5, 6.)
Furthermore, “[b]Jased on what [she] believes to be in Loretta’s
best interests, [Emma has] no wish to take advantage of any
services which the Disability Law Center may be offering arising
from the December 31, 1998 incident and doles] not consent to
allowing the Disability Law Center access to Loretta’s records.”
(E. Riel Aff. | 7.)
III. DISCUSSION

A. Summary Judgment Standard

Summary judgment is appropriate when "the pleadings,
depositions, answers to interrogatories, and admissions on file,
together with the affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party
is entitled to judgment as a matter of law." Barbour v. Dynamics

Research Corp., 63 F.3d 32, 36 (lst Cir. 1995) (quoting Fed. R.

Civ. P. 56(c)). To prevail on summary judgment, the moving party

 

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 7 of 88

must show that there is an absence of evidence to Support the
non-moving party's position. Rogers v. Fair, 902 F.2d 140, 143
(lst Cir. 1990); see also Celotex Corp. v. Catrett, 477 U.S. 317,
325 (1986). Once the moving party satisfies this requirement,
the burden shifts to the non-moving party to establish the
existence of at least one factual issue that is both genuine and
material. LeBlanc v. Great Am. Ins. Co., 6 F.3d 836, 841 (lst
Cir. 1993); see also Anderson v. Liberty Lobby, Inc., 477 U.S.
242, 248 (1986). To oppose summary judgment successfully, the
non-moving party "may not rest upon mere allegation or denials of

his pleading," but must set forth specific facts showing that

there is a genuine issue for trial. LeBlanc, 6 F.3d at 841
(quoting Anderson, 477 U.S. at 256). If the evidence is merely

colorable or is not significantly probative, summary judgment may
be granted. Rogers, 902 F.2d at 143 (quoting Anderson, 477 U.S,
at 249-50) (citations omitted). The Court must "view the facts

in the light most favorable to the non-moving party, drawing all

reasonable inferences in that party's favor." Barbour, 63 F.3d
at 36.
B. Statutory Scheme

The Act mandates that to receive federal funding, every
state “must have in effect a system to protect and advocate the

rights of individuals with developmental disabilities.” §

6042(a) (1). These State-appointed Protection and Advocacy

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 8 of 88

Systems must “have the authority to -- (i) pursue legal,
administrative, and other appropriate remedies or approaches to
ensure the protection of, and advocacy for, the rights of”
individuals with developmental disabilities. 42 U.S.C. §
6042 (a) (2) (A) (i). They also must have “the authority to
investigate incidents of abuse and neglect of individuals with
developmental disabilities if the incidents are reported to the
System or if there is probable cause to believe that the
incidents occurred.” § 6042(a) (2) (B). The P&a system must “be
independent of any agency which provides treatment, services, or
habilitation to individuals with developmental disabilities” and
must “have access at reasonable times and locations to any
resident” with a developmental disability in a facility.
$$ 6042(a) (2) (G) and (H).
Of key significance to this suit, the P&A system must also:
(I) have access to all records of
(1) any individual with developmental
disabilities who is a client of the system if such
individual, or the legal guardian, conservator, or
other legal representative of such individual, has
authorized the system to have such access;
(11) any individual with development
disabilities--
(L) who, by reason of such individual’s
mental or physical condition, is
unable to authorize the system to
have such access;
(II) who does not have a legal guardian,
conservator, or other legal representative,

or for whom the legal guardian is the state;
and

 

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 9 of 88

(III) with respect to whom a complaint has been
received by the system or with respect to
whom as a result of monitoring or other
activities there is probable cause to believe
that such individual has been subject to
abuse or neglect; and

(iii) any individual with a developmental
disability who has a legal guardian, conservator, or
other legal representative with respect to whom a
complaint has been received by the system or with
respect to whom there is probable cause to believe the
health or safety of the individual is in serious and
immediate jeopardy whenever--

(L) such representatives have been contacted by
such system upon receipt of the name and

address of such representatives;

(II) such system has offered assistance to such
representatives to resolve the situation; and

(ITI) such representatives have failed or refused
to act on behalf of the individual.

S$ 6042 (a) (2) (I) (See also Appendix A for Pub. L. No. 106-402, 114
Stat 1677, 1715-16, § 143(a) (2) (I) (iii), the amended §
6042 (a) (2) (IT) (iii)). The term “records” is defined to include,
among other things, “reports prepared by an agency or staff
person charged with investigating reports of incidents of abuse
or neglect, injury or death” that describe the incidents and the
steps taken to investigate the incidents. 42 U.S.C. § 6042(f).
C. The Role of the Guardian

The crux of this dispute is the interpretation of §
6042 (a) (2) (I) (iii), giving the P&A access to “all” records, when

the P&A has received a complaint, or has probable cause, with

respect to an individual with a legal guardian; the P&A has

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 10 of 88

contacted the guardian and offered assistance;* and the guardian
has “failed or refused to act on behalf of the individual.” §
6042 (a) (2) (I) (iii).

The Commissioner asserts that this provision bars him from
disclosing the records of a resident of a mental health facility
against the wishes of a legal guardian who has made an informed
decision to decline the P&A System’s offer of services and
assistance. He further contends that the phrase “failed or
refused to act on behalf of the individual” is intended to
address only those situations where an individual’s appointed
guardian has neglected her obligation as a guardian and failed to
act in good faith. The DLC responds that it has statutory
authority to obtain access to Loretta Riel’s records without her
guardian’s consent even when the guardian acts in good faith,
because it cannot fulfill its statutory mandate to investigate
incidents of abuse and neglect, and to pursue appropriate legal
remedies, without having access to the investigation reports and
without reviewing the adequacy of the remedies provided.

The case law in this area is Sparse. In Alabama
Disabilities Advocacy Program v. J.S. Tarwater Developmental

Center, 97 F.3d 492, 497 (llth Cir. 1996), interpreting 42 U.S.C.

 

* The Commissioner initially took the position that the DLC

did not make an offer of assistance but just requested that the
guardian sign a release form. However, the parties agreed at the
hearing that any offer of assistance would be futile, because the
guardian has chosen not to pursue the matter.

9

 

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 11 of 88

$ 6042 (a) (2) (I) (ii), which governs residents who have no legal
guardian, the Eleventh Circuit recognized that “the Act provides
express authority for P&A’s to gain broad access to records,
facilities, and residents to ensure that the Act’s mandates can
be effectively pursued.” id. (citing Miss. Prot. ¢§ Advocacy
Sys., Inc. v. Cotten, 929 F.2d 1054, 1058-59 (5th Cir. 1991)
(“The state cannot Satisfy the requirements of [the Act] by
establishing a protection and advocacy system which has this
authority in theory, but then taking action which prevents the
System from exercising that authority.”)). Addressing the
argument that the “families’ unwillingness to release the records
should be controlling,” the court held, “Pursuant to § 6042, this
contention is incorrect if [the residents] do not have a legal
representative, including a legal guardian.” id. Although the
Eleventh Circuit seemed to Suggest in dicta that a guardian has a
Statutory role in determining the access of a PsA to a resident’s
records in certain circumstances, it did not interpret the
“failed or refused to act” language in § 6042 (a) (2) (I) (444) (III).
Furthermore, the court insightfully observed,

Since children living in institutions

necessarily live away from their parents, the

most involved and concerned parents cannot
observe the majority of events experienced by

their children in institutions. ... Regular
telephone calls or visits will not uncover
abuse or neglect. The opportunity to observe

possible abuse or neglect is limited,
particularly when institution staff offer
plausible explanations for injuries.

10

 

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 12 of 88

[Parents’] faith in the institution does not
alter the fact that abuse or neglect may have
occurred. Congress legislated the Act to
protect disabled people who are unable to
protect themselves.

Id. at 498 n.3,

Although no appellate court has interpreted §
6042 (a) (2) (I) (iii) (III), two district courts have construed it
broadly. One of these courts stated,

It is evident from the structure of §

6042 (a) (2) (I) (4ii) that this section is
designed to give P&A access to records where
they have received a complaint and/or have
probable cause regarding an individual, and
the guardian has been contacted by the Pé&A
and does not grant permission or refuses to
act. The language of this section of the Act
is clear, and it contemplates access to
records when the [P&A] either receives a
complaint regarding an individual resident,
or has probable cause to believe that the
health or safety of an individual is in
serious and immediate jeopardy.

Pennsylvania Prot, & Advocacy, Inc. v. Royer-Greaves sch, for

Blind, 1999 WL 179797, at *8, *10 (ELD. Pa. 1999) (holding

 

further that “a guardian would not have the authority to deny
access to the records of an individual for whom this section is
satisfied, as this section is designed to give the PsA a right to
access in the event a guardian is not responsive or
cooperative.”); Michigan Prot, & Advocacy Serv., Inc. vy. Miller,
849 F. Supp. 1202, 1208 (W.D. Mich. 1994) (holding that the Act
does not require parental consent to access records and that the

Act “clearly mandate[s] that [PSA organizations] have the

I]

 

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 13 of 88

authority to access .... records in Specific cases where
developmentally disabled and mentally ill individuals are
involved.”); cf. West Virginia Advocates, Inc. v. Appalachian
Cmty. Health Ctr., Inc., 191 W. Va. 671, 676, 447 S.E.2a 606, 611
(1994) (holding that federal law preempts state law and that “a
disabled person has just as much authority to permit the [P&A]
system to have access to his records as the legal guardian” under
S 6042 (a) (2) (G) (i)).

The Court’s statutory construction of Chis difficult
provision begins with the “oft-stated” canon that “[a]ll words
and provisions of statutes are intended to have meaning and are
to be given effect, and no construction should be adopted which
would render statutory words or phrases meaningless, redundant or
superfluous.” United States v. Holmquist, 36 F.3d 154, 160 (1st
Cir. 1994) (quoting United States v. Ven Fuel, Inc., 758 F.2d
741, 751-52 (1st Cir. 1985)). ™“{A] statute must be read asa
whole, with due regard for its object, purposes, and underlying
policy.” Id.

Reading the statute as a whole, the Court is persuaded by
the argument that where there is a complaint or probable cause, §
6042 (a) (2) (I) (iii) gives the Psa the right to access those
records necessary to “pursue legal, administrative and other
appropriate remedies or approaches to ensure the protection of,

and advocacy for” individuals with developmental disabilities and

12

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 14 of 88

“to investigate incidents of abuse and neglect of individual with
developmental disabilities” even where the guardian does not give
her consent. §§ 6042 (a) (2) (A) (i) & (a) (2) (B). These
complementary statutory duties to investigate and pursue legal
remedies are not contingent on a guardian’s consent. Therefore,
a construction of § 6042 (a) (2) (1) (iii) permitting the guardian to
block all access to records necessary to investigate an incident
would effectively give the guardian veto power over the
investigation itself, which would thwart the express statutory
mandate of the P&A system.

The Commissioner argues that giving the P&A access to
records regardless of the guardian’s good faith objection would
reduce to a useless formality the requirement that the PsA system
contact the legal guardian and offer assistance. If the P&éA is
allowed access to the individual’s records regardless of how the
legal guardian responds, the Commissioner asks, why not trigger
the right to access Simply upon the receipt of the complaint or
the existence of probable cause? This is a fair argument,
because at the same time that the Act envisions an effective role
for the P&A, it also respects the role of the legal guardian and
the family. The Act States, for example, that all programs,
projects, and activities receiving financial assistance under the
Act “shall be carried out in a manner consistent with the

principles that--(3) individuals with developmental disabilities

13

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 15 of 88

and their families are the primary decisionmakers regarding the
services and supports such individuals and their families receive
-”  § €000(c) (3). Further, the Act requires that the PsA
should consult, work with, and provide assistance to, the
guardian. Thus, rather than being a hollow gesture, the
consulting requirement serves the Salutory and hortatory purpose
of encouraging the Pé&A and guardian to cooperate, and requiring
the P&A to provide assistance to the guardian if requested.
However, the Act does not recognize guardians as the sole

decision-makers. In fact, the Senate report from the 1990
amendments to the Act, which first incorporated language
permitting P&A access to all records where a guardian “fail[s] or
refuse[s] to act,” indicates that the Act was not intended to
grant a guardian power to block a PSA's access to an individual's
records. It reads:

Another issue raised was with regard to the

difficulty experienced by some systems in

reaching clients for whom the system has

reason to believe that abuse or neglect may

be occurring and that the health and safety

of the individual is in serious jeopardy. In

cases where the individual has a guardian,

existing law requires that the PsA System not

become involved if the guardian refuses the

assistance offered. Clarification of the

conditions under which the PsA System can

intervene in these extraordinary

circumstances is necessary.

S. Rep. No, 101-376, at 12 (1990). The Senate Report also

pointed out that under then-current law, the P&A system could

14

 

 

 
 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 16 of 88

gain access to records only for incompetent persons who did not
have legal guardians. Id. at 23. It further explains:

Section 13 amends Section 142 and clarifies
the conditions under which protection and
advocacy systems have access to records in
those extraordinary situations when there is
reason to believe that the health or safety
Of an individual with developmental
disabilities is in serious or immediate
jeopardy and the legal guardian, conservator,
or other legal representatives have been in
contact, offered asSistance, but have failed
or refused to act on behalf of the person,

Id. at 33. Thus, the legislative history supports the statutory
interpretation that Congress intended to let the P&éA’s
obligations trump the guardian’s wishes in the “extraordinary

circumstances” outlined in the statute.°

 

*In stark contrast, prior to the 1990 Amendments to the Act,
a guardian’s ability to block a Pé&A’s access to records was
unbridled, because the Statutory provision regarding access to
records contained no qualifying language allowing a P&A to access
records in certain circumstances, despite a guardian’s refusal to
grant permission. The relevant provision stated that a P&A must:

(G) have access to all records of --

(1) any person with developmental disabilities who is a
client of the system if such person, or the legal
guardian, conservator, or other legal representative of
such person, has authorized the System to have such
access; and

(11) any person with developmental disabilities --

(I) who, by reason of the mental or physical condition
of such person, is unable to authorize the system
to have such access;

(ITI) who does not have a legal guardian, conservator,
or other legal representative, or for whom the
legal guardian is the State; and

(IIlI)with respect to whom a complaint has been received
by the system or with respect to whom there is
probable cause to believe that such person has

15

 

 

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 17 of 88

The Commissioner argues that the guardian here did not fail
or refuse to act, but instead proactively investigated the
incident and decided in good faith not to pursue further action
based on what she believed to be in her ward's best interests.
Essentially, the Commissioner urges the Court to read a
subjective good faith component into the statute: that is, if the
guardian refuses in good faith to act, the P&A is barred from
access to the ward’s records. At first blush, this deferential
approach is tempting, because it is consistent with state law
dealing with guardianship, which provides that “[t]he guardian is
responsible for the general care and control of [her] ward.”
Judge Rotenberg Educ. Ctr., Inc. v. Comm'’r of the Dep’t of Mental
Retardation, 424 Mass. 476, 478, 677 N.E.2d 156, 158 (1997)
(Citing Mass. Gen. Laws ch. 201, § 6A). It is because primary
responsibility for a ward’s well-being lies with the legal
guardian that “[c]lourts are reluctant to appoint a next friend
when there is a duly appointed representative.” Id. at 479, at
159. “A next friend is not required where there is a duly

appointed guardian, unless it is clear that the interests of the

 

been subject to abuse or neglect;"

Pub. L. No. 100-146, 101 Stat 840, , § 301 (a) (2) (G) (amending
42 U.S.C. § 6042 (a) (2) (G)). Thus, the language that now exists
in § 6042 (a) (2 ) (J) (414) (III) of the Act, permitting a P&A to

access records if a guardian fails or refuses to act, simply did
not exist until the 1990 statutory amendments.

16

 

 

 
 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 18 of 88

guardian and the ward conflict.” Id.; accord Developmental
Disabilities Advocacy Ctr., Inc. v. Melton, 689 F.2d 281, 286
(lst Cir. 1982) (construing Fed. R. Civ. P. 17(c) as permitting
appointment of a next friend or guardian ad litem only when the
general representative has a conflict of interest).

However, the problem with the Commissioner's statutory
interpretation is that the rights of the P&A are governed by
federal law, not state law, and Congress did not limit the words
“failed or refused to act” with any modifier like “unreasonably,”
“in bad faith,” or “in an abuse of trust.” In light of the
unambiguous mandate to the P&A to investigate incidents of abuse
and pursue appropriate remedies, the Court concludes that the
better interpretation of § 6042 (a) (2) (I) (441) is that the P&A is
entitled to obtain access to the records necessary for
investigation so long as the other statutory prerequisites are

met, regardless of the wishes of the guardian.

17

 

 

 
 

Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 19 of 88

IV. ORDER
For the foregoing reasons, Defendants’ Motion for Summary
Judgment (Docket No. 15) is hereby DENIED.® Plaintiff’s Motion
for Summary Judgment (Docket No. 13) is ALLOWED. The defendant

is ordered to release the investigation records to the DLC

forthwith.

\—" Ga SD WO
PATTI B. SARIS
United States District Judge

 

 

6

The DLC seeks discovery. In light of this ruling, the
request for discovery is denied. Indeed, the request to depose
the guardian highlights one of the flaws in a statutory
interpretation which sets a good faith or abuse of trust
Standard, because discovery pits the guardian against the P&A
system, although both seek the best interests of the resident.

18

 

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 20 of 88

APPENDIX A

sections 143(a) (1) & (2) (I) (iii) of the DD Act read in
pertinent part:
SEC, 143. SYSTEM REQUIRED.

{a) SYSTEM REQUIRED.--In order for a State to receive an
allotment under subtitle B or this subtitle-

(1) the State shall have in effect a system to protect and
advocate the rights of individuals with developmental
disabilities;

(2) such system shall--

(1) have access to all records of--
(iii) any individual with a developmental
disability, in a situation in which--
(I) the individual has a legal guardian,

conservator, or other legal
representative;

(II) a complaint has been received by the
system about the individual with regard
to the status or treatment of the
individual or, as a result of monitoring
or other activities, there is probable
cause to believe that such individual
has been subject to abuse or neglect;

(III)such representative has been contacted
by such system, upon receipt of the name
and address of such representative;

(IV) such system has offered assistance to
such representative to resolve the
Situation; and

(V) such representative has failed or
refused to act on behalf of the
individual.

19

 

 
Case 1:00-cv-1 0ff-PBS Document 24 Filed 02/05 Page 21 of 88

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

a He aR ee oR oe a ok ok oo ook oa cook ok oe oe

ote
we

SILVERLINE TECHNOLOGIES, LTD.,

Reach and Apply Defendant.

NSA INVESTMENTS II LLC, *
*
La. x IB
Plaintiff, . YU L ] U 2 2, 3 k Sey
v. * crv AGHON.. LES SC
° AL F\so. Le
SERANOVA, INC., INTELLIGROUP, INC., * st rol AOS
RAJKUMAR KONERU * RU Cun fie Le
and RAVI SINGH, * WAI ER OF SERV. —
* MCP {SUED _____—
Defendants, * AO 129 OR 121
* BY LPTY CLK aa
and DATE aol __..
ok
*
ok
a

ee Re ae a ae ae aie ok ok ke ok ak ok oe ek ke ok ok aE ok ok ok ok

COMPLAINT AND JURY DEMAND
Introduction

1, Plaintiff NSA Investments II LLC (“NSA”) invested $4.0 Million in defendant
SeraNova, Inc. (“SeraNova”) in March 2000 as part of a private placement of SeraNova stock.
NSA and SeraNova agreed that the purpose of the investment was to facilitate the spin-off of
SeraNova from its parent company, Intelligroup, Inc. (“Intelligroup”). At the time of its
investment, NSA received oral representations, warranties, and assurances from defendants
SeraNova, Rajkumar Koneru (“Koneru”) and Ravi Singh (“Singh”) with respect to, among other

things, the following four issues: (1) that SeraNova would be spun-off from its parent company

and become a separate, publicly-traded entity within days of the NSA investment; (2) that

DOCKETED

 

 
Case 1:00-cv-1.0§-PBS Document 24 Filed 02/0 Page 22 of 88

SeraNova’s assets had been released as collateral for a loan to SeraNova’s parent company and
that SeraNova had secured its own bank financing; (3) that SeraNova could access $5.0 Million
in investment funds from an existing investor at the option of SeraNova; and (4) that defendants
Koneru and Singh would devote their full time and efforts to the business of SeraNova and not to
competing, personal ventures which they had been pursuing. NSA specifically advised
SeraNova that these issues were critical to NSA’s evaluation of its participation in the SeraNova
private placement. These assurances were given by Koneru and Singh both in their capacities as
officers and directors of SeraNova and in their individual capacities as investors in SeraNova and
Intelligroup. These representations were repeated in a written Stock Purchase Agreement entered
into between NSA and SeraNova on March 14, 2000 (“Stock Purchase Agreement”). As detailed
more fully below, each of these representations was false, and known to be false, when made.

2, NSA invested in SeraNova in March 2000 solely to facilitate the planned spin-off.
Had NSA known that any one of the factual representations was untrue, NSA would not have
agreed to invest $4.0 Million in the SeraNova private placement in March 2000, would not have
entered into the Stock Purchase Agreement, and would not have wired its $4.0 Million
investment to SeraNova on March 27, 2000. NSA seeks to recover its full investment in return
for the stock received in the private placement and to recover all damages arising out of the
negligent misrepresentations, fraudulent misrepresentations, securities laws violations, breaches
of contract, breaches of the implied covenant of good faith and fair dealing, and unfair or
deceptive acts or practices by SeraNova, Koneru and Singh.

The Parties
3. NSA is a Massachusetts limited liability company with its principal place of

business in Norwood, Massachusetts. NSA is a private investment fund.

2

 

 
Case 1:00-cv-10f@-PBS Document 24 Filed 02/0 Page 23 of 88

4. Defendant SeraNova is a publicly-traded New Jersey corporation with its
principal place of business in Edison, New Jersey and a location in Newton, Massachusetts.
SeraNova provides Internet services to businesses, such as designing and implementing Internet-
based software applications that assist companies to manage procurement, sell products and
services, provide customer service, conduct supplier transactions and communicate with
employees over the Internet. SeraNova was spun-off from its then-parent company, Intelligroup,
in July 2000.

5. Defendant Koneru is an individual residing at 10 Chamonix Lane, Morganville,
New Jersey. Koneru is Chairman, Chief Executive Officer, President and a major shareholder of
SeraNova. He has been the CEO of SeraNova since the company’s formation as a subsidiary of
Intelligroup in September, 1999. Koneru served as Chief Executive Officer of Intelligroup from
November 1997 to April 1998 and from May 1999 to January 2000, and as a director during at
least part of these periods. Koneru is also a major shareholder of Intelligroup. He directed the
reorganization of Intelligroup, resulting in the decision to spin off the Internet services unit as
SeraNova. Koneru is also a co-founder and the Chairman of the Board of Directors of
IndiaInfo.Com Ltd. (“IndiaInfo”), an Internet portal that delivers India-related content,
community and commerce to Indian consumers and businesses, and provides e-business
consulting in direct competition with SeraNova. Koneru is also the founder and Chairman of
ClearMist -- incorporated in the United States as ClearMist, Inc. and in India as ClearMist

Technologies Ltd. -- a company that builds, supports and optimizes Internet-based solutions and

enterprise applications in direct competition with SeraNova.

 

 
Case 1:00-cv-10@-PBS Document 24 Filed 02/05 Page 24 of 88

6. Defendant Singh is an individual residing in New Jersey. Singh is the Chief
Financial Officer, Executive Vice President and Director of SeraNova. He joined SeraNova in
September 1999 as Executive Vice President for Corporate Development and Chief Financial
Officer, and guided the company through its spin-off from Intelligroup. Singh is also a director
of Indialnfo,

7. Intelligroup is a publicly-traded New Jersey corporation with its principal place of
business in Edison, New Jersey. Intelligroup is a global Application Service Provider (ASP) that
designs, builds and supports Internet solutions and enterprise applications. Prior to the March,
2000 private placement, Intelligroup owned 100% of the stock of SeraNova. At all times
material to NSA’s claims, Intelligroup was a controlling person of SeraNova for purposes of the
securities laws.

8. Reach and apply defendant Silverline Technologies Ltd. (“Silverline”) is a
publicly-traded company based in India with a place of business in Piscataway, New J ersey anda
location in Milton, Massachusetts. Silverline is a global information-technology services
provider with operations based both in India and the United States. On October 27, 2000,
Silverline and SeraNova announced their agreement to merge in a stock-for-stock deal (described
more fully below) pursuant to which shareholders of SeraNova such as Koneru and Singh are to
receive .35 shares of Silverline stock in exchange for each share of SeraNova stock.

Jurisdiction and Venue

9. This Court has jurisdiction over this civil action pursuant to 28 U.S.C. § 1331
because it arises, in part, under the federal securities laws, and pursuant to 28 U.S.C. § 1332,
because the amount in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and the action is between citizens of different states.

4

 
Case 1:00-cv-10§-PBS Document 24 Filed 02/09 Page 25 of 88

10. Venue is proper in the District of Massachusetts pursuant to 28 U.S.C. § 1391.
Facts
The History of the SeraNova Spin-Off

11. | SeraNova was originally a wholly-owned subsidiary of Intelligroup. On
September 9, 1999, Intelligroup formed Infinient Inc. as a subsidiary. On December 6, 1999,
Infinient Inc. changed its name to SeraNova. On December 13, 1999, Intelligroup issued a press
release stating that it intended to spin off SeraNova and that the spin-off was “expected to be
completed by the end of first quarter of 2000,” i.e., by the end of March 2000.

12. The practical effect of the SeraNova spin-off was that shareholders of Intelligroup
would receive one share of SeraNova stock for every share of Intelligroup stock owned. In other
words, an Intelligroup shareholder owning 1,000 Intelligroup shares before the spin-off would
own 1,000 Intelligroup shares and 1,000 SeraNova shares after the spin-off. Because NSA
owned a significant amount of Intelligroup stock in early 2000, NSA wanted the spin-off to
occur. NSA was willing to invest $4.0 Million in the SeraNova private placement because the
spin-off would have resulted in NSA owning Intelligroup and SeraNova stock valued well in
excess of $4.0 Million. In other words, provided the spin-off occurred promptly, NSA would
immediately realize a significant benefit from the SeraNova investment. On the other hand,
without assurances that the spin-off would occur promptly, NSA would not have invested
$4.0 Million in the private placement because by itself that investment was completely illiquid
(ue., NSA received restricted shares which could not be traded by NSA), and offered no near-
term advantage to offset the loss of use of those funds,

13. In preparation for its contemplated spin-off from Intelligroup, on January 27,

2000 SeraNova filed with the United States Securities and Exchange Commission (“SEC”) a

5

 
Case 1:00-cv-10@-PBs Document 24 Filed 02/09 Page 26 of 88

Form 10 Registration Staternent, the General Form for Registration of Securities. The
Information Statement accompanying the Form 10 announced the proposed spin-off of all
outstanding shares of SeraNova, then held by Intelligroup, to Intelligroup shareholders. The
Information Statement also announced SeraNova’s intention to have its common stock approved
for quotation on the NASDAQ National Market, and its expectation that a market would develop
on or shortly before the record date for the spin-off and that regular trading would begin on the
first business day after the effective date of the spin-off.
The March 2000 Private Placement

14. Also in anticipation of its spin-off from Intelligroup, in March 2000 SeraNova
conducted a private placement offering whereby investors including NSA agreed to purchase
SeraNova shares for $10 million. Of that amount, NSA invested $4.0 million. SeraNova’s stated
purpose in conducting the private placement was to facilitate and indeed to accelerate the spin-
off. To induce NSA’s investment, the defendants made at least four material misrepresentations.

15. First, defendants misrepresented the timing of SeraNova’s spin-off from
Intelligroup. NSA made clear to defendants prior to and at the time of the March private
placement that the timing of the Sera-Nova spin-off was critical to NSA’s investment decision.
NSA was assured by both Koneru and Singh, acting as officers and directors of SeraNova, that if
NSA made its investment, the spin-off would be approved by the Securities Exchange
Commission (“SEC”) and would occur immediately. Most specifically, on March 14, 2000, in
the afternoon, Singh telephoned NSA and told NSA that the only remaining hurdle to

accomplishing the spin-off was to increase SeraNova’s capital through the private placement and

that the spin-off would be completed by the end of March 2000.

 
Case 1:00-cv-10@-PBs Document 24 Filed 02/09 Page 27 of 88

16. | Defendants SeraNova, Koneru and Singh made similar representations even after
they had induced NSA to enter into the Stock Purchase Agreement. On or about March 21,
Dokeniya and Palakurthi met with Koneru in person, at which time Koneru informed them that
the spin-off was “on schedule.” Later, in a telephone conversation immediately preceding the
March 27, 2000 closing of the private placement, Singh told NSA that the spin-off would occur
as soon as SeraNova received NSA’s investment funds on March 27.

17. At the time these representations were made, SeraNova, Koneru and Singh knew
or should have known that the spin-off would not occur immediately upon the closing of the
private placement or even shortly thereafter. At a minimum SeraNova, Koneru and Singh knew
or should have known that the Form 10 then on file with the SEC was not the appropriate
documentation to accomplish the spin-off. In fact, SeraNova withdrew the Form 10 on or about
March 24, 2000 in a clear acknowledgment that the then pending Form 10 was inappropriate to
accomplish the spin-off.

18. Defendants also misrepresented the status of SeraNova’s financing in response to
direct questions from NSA. At the time of the private placement, SeraNova’s corporate parent,
Intelligroup, had a line of credit with PNC Bank. The line of credit was collateralized by, among
other things, the assets of SeraNova. Prior to making its private placement investment, NSA
directly asked Singh whether the PNC release had been obtained. Singh assured NSA that it had
been. In particular, during a telephone conversation on the afternoon of March 14, 2000, Singh
told NSA that PNC Bank had agreed to release the SeraNova assets. That statement was false --
PNC had not released (or agreed to release) the SeraNova assets as collateral for the Intelligroup
loan at or about the time of the March 2000 private placement. Indeed, appropriate releases were

not obtained until May 31, 2000. In addition, Singh represented to NSA during the same

7

 
Case 1:00-cv-19@@-PBS Document 24 Filed 02/0 Page 28 of 88

telephone conversation that SeraNova had secured its own bank financing. That statement was
false -- in response to later questioning by NSA, SeraNova explained that the spin-off had been

delayed due, in part, to its lack of bank financing. In response to NSA’s inquiries, Koneru

 

repeated these false statements concerning the release of assets and the arrangement of
SeraNova’s bank financing in a face to face meeting with NSA on March 21, 2000 at SeraNova’s
offices in New Jersey.

19. Defendants also misrepresented the existence of an option to secure an additional
$5.0 Million investment in SeraNova. In particular, during a telephone conversation on March
14, 2000, in connection with negotiating the Stock Purchase Agreement, Singh told NSA that
one of the investors in the private placement had agreed to give SeraNova a “put” option to sell
another $5 Million of the same securities to that investor at SeraNova’s option. Defendants’
misrepresentation concerning the option was intended to bolster SeraNova’s apparent financial
strength. In fact, the statement was false -- upon information and belief, the option either never
existed or SeraNova never intended to exercise it. NSA’s belief is based upon several facts,
including: (a) Sera Nova needed capital after March, 2000 yet never exercised its option;

(b) SeraNova later (in September, 2000) conducted a further private placement on less
advantageous terms without first exercising the purported option; (c) in response to NSA’s
inquiries about the purported option, SeraNova has responded only that the alleged option
“expired” and has never provided NSA with a copy of the purported “Option Letter” or any other
evidence of the existence of the option; and (d) if the option was of limited duration, SeraNova
never disclosed that fact in any of its public filings.

20. Finally, defendants misrepresented the amount of time and effort that Koneru and

Singh would be devoting to the business of SeraNova. NSA considered Koneru’s and Singh’s

8

 

 
Case 1:00-cv-16@-PBS Document 24 Filed 02/09 Page 29 of 88

commitment to SeraNova to be critical to the success of the company, and NSA was therefore
concerned that Koneru and Singh were devoting too much of their time to developing the
business of IndiaInfo at the expense of SeraNova. NSA confronted Koneru and Singh with these
concerns prior to the private placement. NSA was assured that Koneru and Singh intended to
and would devote substantially all of their time, energy, and attention to achieving the spin-off
and to the business of SeraNova. In particular, on several occasions during January to March
2000, including at the face-to-face meeting between Koneru and NSA in New Jersey in early
March, 2000, Koneru told NSA that he intended to and would devote his full time to SeraNova
and that he would make sure that other SeraNova employees who were involved with IndiaInfo
would also devote their complete attention to SeraNova. Those representations were false when
made -- both before and after the private placement, Koneru and Singh intended to and did direct
substantial time, energy, and attention to IndiaInfo at the expense of SeraNova and to the
detriment of SeraNova’s shareholders. A third SeraNova employee, Tarun Chandra, likewise has
directed time, energy, and attention to IndiaInfo at the expense of SeraNova. In addition, most
recently, Koneru has founded yet another Internet services company, ClearMist, with the help of
two other employees of IndiaInfo. ClearMist is in direct competition with SeraNova, and Koneru
continues to act in his own interests and contrary to the interests of SeraNova and its investors,
This activity demonstrates that, at the time they made contrary representations to NSA, neither
Koneru nor Singh intended to devote their full time and attention to SeraNova.
The Stock Purchase Agreement

21. As part of the private placement, SeraNova and NSA entered into the Stock
Purchase Agreement dated March 14, 2000. On that day, drafts of the Stock Purchase

Agreement were exchanged by facsimile transmission between NSA in Massachusetts and the

9

 

 
Case 1:00-cv-10@-PBS Document 24 Filed 02/09 Page 30 of 88

defendants in New Jersey. As set forth below, the Stock Purchase Agreement memorialized and
repeated, as express representations and warranties of SeraNova, the oral misrepresentations that
had been made to induce NSA’s $4.0 Million investment. The Stock Purchase Agreement
required each representation and warranty of SeraNova to be true when made, on March 14,
2000, and when the private placement closed on March 27, 2000. As described below, several of
these representations and warranties were not true on March 14, 2000 or when the transaction
closed on March 27, 2000.

22. ‘First, with respect to the timing of SeraNova’s spin-off from Intelligroup,
SeraNova represented and warranted in § 2.13 of the Stock Purchase Agreement that, as of the
date filed, the Form 10 SeraNova filed with the SEC on January 27, 2000 complied in all
material respects with the requirements of the Securities Act of 1933 and the Securities Exchange
Act of 1934, as amended, and the applicable rules and regulations of the SEC promulgated
thereunder. This representation was false when made, as evidenced by SeraNova’s withdrawal
of the Form 10 on March 24, 2000, only ten days after execution of the Stock Purchase
Agreement and only three days before the closing.

23. Second, with respect to the status of SeraNova’s financing, SeraNova represented
and warranted in § 2.12 of the Stock Purchase Agreement that it owned its property and assets
free and clear of all mortgages, liens, loans and encumbrances that would materially impair its
ownership or use of such property or assets. Contrary to this representation, and contrary to
similar representations made by Koneru and Singh, SeraNova had not received the releases from
Intelligroup’s lenders -- including PNC Bank, which held a lien on, and thereby materially

impaired, all of SeraNova’s assets -- which were necessary to make these representations true.

10

 
Case 1:00-cv-16@-PBS Document 24 Filed 02/09 Page 31 of 88

24. Third, with respect to the $5.0 Million investment option, SeraNova represented
and warranted in § 2.2 of the Stock Purchase Agreement that it had an arrangement with
EvansVille Limited, documented in an Option Letter, whereby, at SeraNova’s sole option,
EvansVille Limited would purchase a fixed number of shares of SeraNova common stock at the
same price and on the same terms and conditions as set forth in the Stock Purchase Agreement.
Upon information and belief, as explained above, no such option existed or SeraNova never
intended to exercise any such option.

25. Fourth, the Stock Purchase Agreement memorialized defendants’ promise that
Koneru and Singh would devote substantially all of their time, energy, and attention to
SeraNova. In particular, SeraNova represented and warranted in § 2.10 of the Stock Purchase
Agreement that the disclosures made in its January 27, 2000 Form 10 were true. Incorporated as
exhibits to the Form 10 were written employment agreements with Koneru and Singh. In his
employment agreement, Koneru represented and agreed that he would devote his full working
time, energy and skill to the business of SeraNova, and would not serve as a member of the board
of directors of another company or organization if such service would interfere with the
performance of his duties to SeraNova. Similarly, in his employment agreement, Singh
represented and agreed that he would devote his full business time and attention to the faithful
and diligent performance of his duties to SeraNova, and would not engage in activities that
would materially interfere with the performance of his duties to SeraNova or which, even if non-
interfering, may be contrary to SeraNova’s interests. Yet, at the time the Stock Purchase
Agreement was executed, Koneru and Singh were directing substantial time, energy and attention

to IndiaInfo at the expense of SeraNova and intended to continue to do so.

11

 
 

Case 1:00-cv-10@-PBs Document 24 Filed 02/0 Page 32 of 88

Continued Spin-Off Delays

26. The private placement investment pursuant to the Stock Purchase Agreement
closed on March 27, 2000. On that day, NSA wired its $4.0 Million investment to SeraNova.
Before closing the deal and wiring the money, NSA on or about March 27, 2000 requested and
received further assurances that the spin-off was imminent. In particular, in response to NSA’s
concerns about SeraNova’s withdrawal of the Form 10 on March 24, 2000, Singh and Ashok
Roy (“Roy”), SeraNova’s Vice President for Business Development, told NSA that the
withdrawal was “no big deal” and was done merely to avoid expiration of the form. They also
told NSA that SeraNova needed to make only a very minor change to the Form 10 and would
then “refile” it. Finally, they told NSA that they were very confident that the spin-off would take
place within a week or at most ten days. These further assurances again were false, as SeraNova
knew or should have known at the time. SeraNova did not even file the appropriate spin-off
documentation until April 18, 2000. That documentation, a Form S-1 required by the SEC,
remained subject to SEC approval. In addition, the required releases relating to SeraNova’s
assets had not yet been obtained. Therefore, SeraNova could not have believed in good faith that
the spin-off was imminent.

27. In fact, the spin-off of SeraNova did not occur until July 5, 2000, a nearly four-
month delay from the time NSA and SeraNova entered into the Stock Purchase Agreement. The
delays were directly attributable to the concerns expressed by NSA, about which SeraNova
misrepresented the facts. For example, one reason for the delay of the spin-off was defendants’
failure to secure release of SeraNova’s assets as collateral for the PNC Bank loan to Intelligroup.

That release was not obtained until May 31, 2000. Another reason for the delay of the spin-off

12

 

 
Case 1:00-cv-10@-PBS Document 24 Filed 02/09 Page 33 of 88

was the unavailability and consequent lack of managerial direction of Koneru and Singh, who
spent considerable time and directed substantial energies to other pursuits, including IndiaInfo.

28. NSA believed that its private placement investment was simply a means to an
end, i.e., accomplishing the SeraNova spin-off within a matter of days. As a result, NSA
specifically sought assurances from defendants that the SeraNova spin-off would occur
immediately after the March 2000 private placement. Defendants represented to NSA that
NSA’s $4.0 Million investment would facilitate the immediate spin-off of SeraNova. NSA
would not have invested $4.0 Million in the March private placement had defendants not made
these representations.

29. | NSA’s reliance upon defendants’ representations was reasonable because, in part,
the representations were consistent with other representations made to NSA. For example,
during a face-to-face meeting in New Jersey on March 4 or 5, 2000, Koneru had told NSA that
the spin-off was to be completed within a few week’s time, that PNC Bank would soon release
SeraNova’s assets as collateral for the loan to Intelligroup, and that he intended to and would
devote his full time to the business of SeraNova and make sure that other SeraNova employees
who were involved with IndiaInfo would also devote their complete attention to SeraNova.
Later, on or about March 21, Dokeniya and Palakurthi met with Koneru in person, at which time
Koneru informed them that the spin-off was “on schedule.”

The Silverline Merger Transaction

30. On October 27, 2000 Silverline and SeraNova announced a merger transaction
pursuant to which shareholders of SeraNova will receive .35 shares of Silverline for each share
of SeraNova. As of the announcement date, the value of the deal to SeraNova stockholders in a

per share basis was approximately $5.00 per share. Just weeks prior to the announcement,

13

 
Case 1:00-cv-10@@-PBs Document 24 Filed 02/09 Page 34 of 88

Koneru had assured NSA, in response to NSA’s concerns about Koneru’s myriad conflicts of
interest relating to Intelligroup, SeraNova, and Indialnfo, that he would not consider a transaction
for SeraNova at less than $12.00 per share.

31. | Upon information and belief, Koneru is pursuing the Silverline merger out of
purely personal motives relating to his desire to cash out of SeraNova and pursue competing
business interests. For example, as the trading prices of Intelligroup and SeraNova stock fell
during the August through October 2000 time period, Koneru faced significant margin calls
requiring him to raise substantial funds and/or lose substantial portions of his stock holdings.
Because Koneru had already shifted his loyalties and efforts away from SeraNova and toward
IndiaInfo and other competing ventures, resurrecting SeraNova and its stock price would have
involved a complete reversal of his strategies and efforts. Finding a buyer (i.e., merger partner)
like Silverline was an easier, faster exit strategy for Koneru.

32. According to SeraNova’s and Silverline’s SEC filings, a special meeting of
SeraNova shareholders will take place on February 12, 2001 for the purpose of approving the
Silverline merger. NSA expects that the merger will close immediately after the SeraNova
shareholder vote. As part of the merger, both Koneru and Singh will receive Silverline stock in
exchange for their SeraNova stock including stock options which immediately vest upon the
closing of the merger. In the case of Koneru, who beneficially owns over 2,000,000 shares of
SeraNova stock and almost 800,000 stock options, the exchange for Silverline stock will be
substantial and will, upon information and belief, constitute the primary if not sole source of any
recovery by NSA against Koneru. NSA believes that unless Koneru’s and Singh’s shares in
SeraNova (pre-merger) or Silverline (post-merger) are held in escrow, NSA will not be able to

recover on any judgment it receives against Koneru and/or Singh. To avoid any impact on the

14

 

 
Case 1:00-cv-10@p-PBs Document 24 Filed 02/09 Page 35 of 88

merger itself, NSA seeks only to restrict the post-merger shares which Koneru and Singh would
otherwise hold, and in no way seeks to impair SeraNova’s and Silverline’s ability to merge as

anticipated.

COUNT I - NEGLIGENT MISREPRESENTATION
(As to SeraNova, Koneru and Singh)

33. | NSA restates and incorporates each of the allegations contained in paragraphs 1 -
32.

34. Defendants, in the course of business, made false or misleading statements of
material fact to plaintiff for the guidance of plaintiff with respect to a business transaction, the
March 2000 private placement.

35. Defendants failed to exercise reasonable care in making the false or misleading
statements to plaintiff.

36. Plaintiff justifiably relied on defendants’ false or misleading statements of
material fact.

37. Defendants’ failure to exercise reasonable care in making the false or misleading
statements to plaintiff has caused plaintiff to suffer pecuniary loss.

COUNT II - FRAUDULENT MISREPRESENTATION
(As to SeraNova, Koneru and Singh)

38. | NSA restates and incorporates each of the allegations contained in paragraphs 1 -
37.

39. Defendants made statements of material fact to plaintiff which defendants knew to
be false or misleading when made.

40. Defendants intended by their false or misleading statements of material fact to

induce plaintiff to invest in SeraNova in March 2000.

15

 

 
Case 1:00-cv-16@-PBS Document 24 Filed 02/0@MJ Page 36 of 88

41. Plaintiff reasonably relied upon defendants’ false or misleading statements of
material fact when it entered into the Stock Purchase Agreement and wired $4 Million to
SeraNova, which, but for defendants’ misrepresentations, plaintiff would not have done.

42. Defendants’ misrepresentations caused plaintiff to suffer loss.

COUNT III - SECURITIES LAWS VIOLATIONS
(As to Intelligroup, SeraNova, Koneru and Singh)

43. NSA restates and incorporates each of the allegations contained in paragraphs | -
42,

44, Each of the defendants made false or misleading statements of material fact
concerning the timing of the spin-off of SeraNova, the release of SeraNova’s assets as collateral
for a loan to Intelligroup and the availability of bank financing, the availability of an optional
$5.0 Million in additional investment, and the amount of time and attention that Koneru and
Singh would devote to SeraNova.

4S, In making each of their false or misleading statements of material fact, defendants
employed a means or instrumentality of interstate commerce.

46. Each of defendants’ false or misleading statements of material fact were made
with intent to deceive, manipulate, or defraud, or were made with recklessness as to their falsity
or materially misleading nature.

47. Each of defendants’ false or misleading statements of material fact were made in
connection with the purchase or sale of securities and in violation of, among other securities laws
provisions, Sections 10(b), 17(a) and 20(a) of the Securities Exchange Act of 1934.

48. Plaintiff reasonably relied upon defendants’ false or misleading statements, and

that reliance proximately caused injury to plaintiff.

16

 

 
Case 1:00-cv-1¢@p-PBs Document 24 Filed 0210 Page 37 of 88

49. Koneru and Singh each is a “controlling person” vis-a-vis SeraNova and each is,
pursuant to Section 20(a) of the Securities Exchange Act of 1934, jointly and severally liable
with and to the same extent as SeraNova for the false or misleading statements that SeraNova
made.

50. _ Intelligroup was a “controlling person” vis-a-vis SeraNova at all times relevant to
NSA’s claims and is, pursuant to Section 20(a) of the Securities Exchange Act of 1934, jointly
and severally liable with and to the same extent as SeraNova for the false or misleading

statements that SeraNova made.

COUNT IV - BREACH OF CONTRACT

(As to SeraNova)
51. | NSA restates and incorporates each of the allegations contained in paragraphs 1 -
50.
52. The Stock Purchase Agreement is a valid and enforceable agreement between

plaintiff and SeraNova and is supported by valid consideration.

53. NSA has fully performed its obligations owed pursuant to the Stock Purchase
Agreement.

54. SeraNova materially breached the Stock Purchase Agreement by violating
representations and warranties set forth therein.

55. | SeraNova’s breach of the Stock Purchase Agreement has caused plaintiff to suffer

loss.

17

 
 

Case 1:00-cv-1¢@p-PBs Document 24 Filed 02/0 Page 38 of 88

COUNT V - BREACH OF IMPLIED COVENANT OF GOOD FAITH

(As to SeraNova)
56. | NSA restates and incorporates each of the allegations contained in paragraphs 1 -
55,
57. The Stock Purchase Agreement is a valid and enforceable agreement between

plaintiff and SeraNova.

58. By entering into the Stock Purchase Agreement with plaintiff, SeraNova
impliedly covenanted to act in good faith toward plaintiff.

59. SeraNova breach its implied covenant of good faith by violating representations
and warranties set forth in the Stock Purchase Agreement and by otherwise pursuing a course of
conduct the effect of which was to defeat the reasonable expectations of NSA with respect to the

parties’ contractual relationship.
COUNT VI - VIOLATION OF M.G.L. c. 93A
(As to SeraNova)

60. NSA restates and incorporates each of the allegations contained in paragraphs 1 -
59,

61. SeraNova made statements of material fact to plaintiff, which SeraNova knew to
be false or misleading when made, in order to induce plaintiff to invest in SeraNova in March
2000.

62.  SeraNova’s false or misleading statements of material fact influenced plaintiff's

decision to enter into and close the Stock Purchase Agreement.

18

 
Case 1:00-cv-1¢@-PBs Document 24 Filed 02/0 Page 39 of 88

63. By making false or misleading statements of material fact in order to induce
plaintiff to invest in SeraNova in March 2000, SeraNova engaged in unfair or deceptive acts or
practices.

64. SeraNova’s unfair or deceptive acts or practices, and the harm resulting therefrom,
occurred primarily and substantially within Massachusetts.

65. | SeraNova’s unfair or deceptive business practices caused plaintiff to suffer loss of
money or property.

COUNT VII - REACH AND APPLY
(As to Silverline)

66. | NSA restates and incorporates each of the allegations contained in paragraphs 1 -
65.

67. Reach and Apply defendant Silverline holds or will hold property, right, title or
interest of Koneru and Singh which may be reached and applied to the debts that Koneru and
Singh owe NSA.

68. Reach and Apply defendant Silverline and is agents, servants, employees, assigns,
attorneys and other representatives, and anyone acting by, through, or on behalf of Silverline,
should be restrained and enjoined from alienating, encumbering, concealing, transferring,
conveying, selling, mortgaging, pledging, hypothecating, dissipating, or in any way disposing of
any property, right, title or interest of Koneru or Singh in corporate shares of Silverline, and such
shares should be reached and applied to the satisfaction of any judgment against Koneru and

Singh entered in this action.

19

 

 
Case 1:00-cv-10@p-PBs Document 24 Filed 02/0 Page 40 of 88

WHEREFORE, NSA seeks the following relief:

a. a preliminary injunction against Reach-and-Apply Defendant Silverline and
against Koneru and Singh ordering Silverline, Koneru and Singh to place in escrow with the
Court or as otherwise ordered, Koneru’s and Singh’s respective shares of Silverline receivable by
Koneru and Singh pursuant to the Silverline/SeraNova merger.

B. Damages under Counts I - VI.

C. Multiple damages and attorneys’ fees under Count VI.

D. Such other and further relief as the Count deems appropriate.

JURY TRIAL DEMANDED

Plaintiff demands a jury trial on all counts so triable.

NSA INVESTMENTS IH LLC

By its attorneys,

La) pn Gla W—

Mark E. Tully (BBO No. 550403)
Greer N. Shaw (BBO No. 638128)
GOODWIN PROCTER LLP
Exchange Place
Boston, MA 02109-2881
(617) 570-1000

DATED: February Y, 2001

1032149.4 liba

20

 
ws Case moog Document 24 Filed ei Page 41 of 88 |

. : €, .
we ot

UNITED STATES DISTRICT COURT “ LD

DISTRICT OF MASSACHUSETTS - os

 

SHAW'’S SUPERMARKETS, INC.,
Plaintiff,

Vv. Civil Action No: 0OCV11571 WGY

CASH TECHNOLOGIES, INC. AND

COIN BANK AUTOMATED SYSTEMS,

INC.,
Defendants.

ere ee ee ee 8

 

ANSWER & JURY DEMAND
The Defendants, Cash Technologies, Inc. and Coin Bank
Automated Systems, Inc., hereby respond to the Plaintiff’s

Complaint as follows:

The Parties
1. The Defendants are without sufficient information to
admit or deny the allegations contained in this paragraph and

therefore deny the same.

 

2. Admitted.
3. Admitted.
Jurisdiction and Venue
4. This paragraph contains a conclusion of law which

requires no response.

5. This paragraph contains a conclusion of law which

requires no response.

 
| Case hO0-ev- Ogres Document 24 Filed °2°@ Page 42 of 88

6.

This paragraph contains a conclusion of law which

requires no response.

10.
11.
12.
13.
paragraph.
14.
paragraph.
15.
agreement.
16.
agreement.
17.
18.
19,
paragraph.
20.

Coin Bank’

Admitted.

Admitted.

Admitted.

Admitted.

Admitted.

Admitted.

The Defendants

The Defendants

The Defendants

The Defendants

Admitted.

Admitted.

The Defendants

Facts

deny the allegations contained in this

deny the allegations contained in this

deny that they defaulted on the

deny that they defaulted on the

deny the allegations contained in this

Cash Technologies denies that it is responsible for

s obligations.

 
Case PO0-cv-10 gy PES Document 24 Filed e@ Page 43 of 88

21.
22.
itself.
23.
itself.
a4,
agreement.
25.
agreement.
26.
agreement.
27,
agreement.
28.
agreement.
29,

paragraph.

30.

Admitted.

The

The

The

The

The

The

The

The

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Breach of

state that the

state that the

deny

deny

deny

deny

deny

deny

agreement speaks for

agreement speaks for

that they defaulted on the

that they defaulted on the

that they defaulted on the

that they defaulted on the

that they defaulted on the

the allegations contained in this

COUNT T

Contract Against CoinBank

The Defendants reincorporate and reallege their

responses to paragraphs 1 through 29.

31.

paragraph.

The Defendants deny the allegations contained in this

 
Case PO0-cv-10 gg PES Document 24 Filed e@ Page 44 of 88

32. The Defendants deny the allegations contained in this
paragraph.

33. The Defendants deny the allegations contained in this
paragraph.

34. The Defendants deny the allegations contained in this

paragraph.

COUNT IT

Breach of Contract Aqainst Cash Technologies

35. The Defendants reincorporate and reallege their
responses to paragraphs 1 through 34.

36. The Defendants deny the allegations contained in this
paragraph.

37. The Defendants deny the allegations contained in this
paragraph.

38. The Defendants deny the allegations contained in this
paragraph.

39. The Defendants deny the allegations contained in this
paragraph.

40. The Defendants deny the allegations contained in this
paragraph.

41. The Defendants deny the allegations contained in this

paragraph.

42. The Defendants deny the allegations contained in this

 
- Case 1:00-cv-L0@y PBS Document 24 Filed 02 Page 45 of 88
paragraph.

Prayers For Relief
The remainder of the complaint contains a Prayer for Relief
which requires no response. To the extent that the Request for
Relief sets forth allegations that require a responsive pleading

those allegations are denied.

AFFIRMATIVE DEFENSES
First Affirmative Defense
The Plaintiff's complaint fails to state a claim upon which
relief can be granted.
Second Affirmative Defense
The Plaintiff£’s claims are barred by the applicable statute
of limitations.
Third Affirmative Defense
The Plaintiff's claims are barred by laches or estoppel.
Fourth Affirmative Defense
The Plaintiff£’s claims are barred by the doctrine of unclean
hands.
Fifth Affirmative Defense
The Plaintiff failed to mitigate its damages.
Sixth Affirmative Defense

The Plaintiff has waived any right to assert the claims

-5-

 
a Case moore DO@eres Document 24 Filed @ Page 46 of 88

alleged in its complaint.

WHEREFORE, the Defendants request that this Court:
1. Dismiss with prejudice the Plaintiff’s complaint;

2. Award the Defendants interest, costs and attorney's
fees; and

3. Award the Defendants such other and further relief as
this Court deems just and appropriate.

DEFENDANTS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

CASH TECHNOLOGIES, INC. AND
COIN BANK AUTOMATED SYSTEMS, INC.,
by their attorneys,

CERT IFICATE OF SERVICE .
| hereby certify that a true copy of the [i [chr

above document was served upon the

attomey of record for ch er party Paul F. Beckwith, BBO #: 550186
by waishand on 10[2Y 32 ; Kenneth J. Martin, BBO #: 636643
COOLEY MANION JONES LLP

21 Custom House St.
Boston, MA 02110
(617) 737-3100

 

and

Brian C. Daughney, Esq.

GOLDSTEIN & DiGIOIA, LLP

369 Lexington Avenue - 18th Floor
New York, NY 10017

(212) 599-3322

Dated: jofas 2000

50109

 

 
ws of Case oo Document 24 Filed e@ Page 47 of 88 .
. ° te "
f
at,
UNITED STATES DISTRICT COURT oe 6p
DISTRICT OF MASSACHUSETTS - oe

 

SHAW'S SUPERMARKETS, INC.,
Plaintiff,

Vv. Civil Action No: 00CV11571 WGY

CASH TECHNOLOGIES, INC. AND

COIN BANK AUTOMATED SYSTEMS,

INC.,
Defendants.

Nee ee ee ee ee ee

 

ANSWER & JURY DEMAND
The Defendants, Cash Technologies, Inc. and Coin Bank
Automated Systems, Inc., hereby respond to the Plaintiff’s

Complaint as follows:

The Parties
1. The Defendants are without sufficient information to
admit or deny the allegations contained in this paragraph and

therefore deny the same.

 

2. Admitted.
3. Admitted.
Jurisdiction and Venue
4. This paragraph contains a conclusion of law which

requires no response.

5. This paragraph contains a conclusion of law which

requires no response.

 
“ Case E00-cv-10 @y PES Document 24 Filed 02105 i Page 48 of 88

6. This paragraph contains a conclusion of law which

requires no response.

Facts

7. Admitted.

8. Admitted.

9. Admitted.

10. Admitted.

11. Admitted.

12. Admitted.

13. The Defendants deny the allegations contained in this
paragraph.

14. The Defendants deny the allegations contained in this
paragraph.

15. The Defendants deny that they defaulted on the
agreement.

16. The Defendants deny that they defaulted on the
agreement.

17. Admitted.

18. Admitted.

19. The Defendants deny the allegations contained in this
paragraph.

20. Cash Technologies denies that it is responsible for

Coin Bank’s obligations.

 
Case PON DO mPeS Document 24 Filed @ Page 49 of 88

21.
22.
itself.
23.
itself.
24.
agreement.
25.
agreement.
26.
agreement.
27.
agreement.
28.
agreement.
29,

paragraph.

30.

Admitted.

The

The

The

The

The

The

The

The

The

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Breach of

Defendants

state that the

state that the

deny

deny

deny

deny

deny

deny

agreement speaks for

agreement speaks for

that they defaulted on the

that they defaulted on the

that they defaulted on the

that they defaulted on the

that they defaulted on the

the allegations contained in this

COUNT TI

Contract Against CoinBank

reincorporate and reallege their

responses to paragraphs 1 through 29.

31.

paragraph.

The Defendants deny the allegations contained in this

 
Case PO0-ev 20 @mePres Document 24 Filed 020° Page 50 of 88

32. The Defendants deny the allegations contained in this
paragraph.

33. The Defendants deny the allegations contained in this
paragraph.

34. The Defendants deny the allegations contained in this

paragraph.

COUNT IT

Breach of Contract Against Cash Technologies

35. The Defendants reincorporate and reallege their
responses to paragraphs 1 through 34.

36. The Defendants deny the allegations contained in this
paragraph.

37. The Defendants deny the allegations contained in this
paragraph.

38. The Defendants deny the allegations contained in this
paragraph.

39. The Defendants deny the allegations contained in this
paragraph.

40. The Defendants deny the allegations contained in this
paragraph.

41. The Defendants deny the allegations contained in this

paragraph.

42. The Defendants deny the allegations contained in this

 
* Case moore Doers Document 24 Filed 0 Page 51 of 88
paragraph.

Prayers For Relief

The remainder of the complaint contains a Prayer for Relief
which requires no response. To the extent that the Request for
Relief sets forth allegations that require a responsive pleading

those allegations are denied.

AFFIRMATIVE DEFENSES
First Affirmative Defense
The Plaintiff's complaint fails to state a claim upon which
relief can be granted,
Second Affirmative Defense
The Plaintiff's claims are barred by the applicable statute
of limitations.
Third Affirmative Defense
The Plaintiff's claims are barred by laches or estoppel.
Fourth Affirmative Defense
The Plaintiff’s claims are barred by the doctrine of unclean
hands.
Fifth Affirmative Defense
The Plaintiff failed to mitigate its damages.
Sixth Affirmative Defense

The Plaintiff has waived any right to assert the claims

-5-

 

 
*

. Case hO0-ev-Do@gres Document 24 Filed @ Page 52 of 88

alleged in its complaint.-

WHEREFORE, the Defendants request that this Court:
1. Dismiss with prejudice the Plaintiff’s complaint;

2. Award the Defendants interest, costs and attorney's
fees; and

3. Award the Defendants such other and further relief as
this Court deems just and appropriate.

DEFENDANTS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

CASH TECHNOLOGIES, INC. AND
COIN BANK AUTOMATED SYSTEMS, INC.,
by their attorneys,

CERTIFICATE OF SERVICE ”
| heraby certify that a true copy of the fs fy bo %

above document was served upon the

attomey of racart for ech other party Paul F. Beckwith, BBO #: 550186
byseishand on_4O/2d/ 2e , Kenneth J. Martin, BBO #: 636643
COOLEY MANION JONES LLP

21 Custom House St.
Boston, MA 02110
(617) 737-3100

 

and

Brian C. Daughney, Esq.

GOLDSTEIN & DiGIOIA, LLP

369 Lexington Avenue - 18th Floor
New York, NY 10017

(212) 599-3322

pated: /2/23 2000

50109

 
Ks , Case moore toa Document 24 Filed erg 53 of 88.
* ” a “ os
oe
eon)
UNITED STATES DISTRICT COURT fo 2
DISTRICT OF MASSACHUSETTS o.

 

SHAW'S SUPERMARKETS, INC.,
Plaintiff,

Vv. Civil Action No: 00CV11571 WGY
CASH TECHNOLOGIES, INC. AND
COIN BANK AUTOMATED SYSTEMS,
INC.,

Defendants.

ee ee ee 8

 

ANSWER & JURY DEMAND
The Defendants, Cash Technologies, Inc. and Coin Bank
Automated Systems, Inc., hereby respond to the Plaintiff’s

Complaint as follows:

The Parties
1. The Defendants are without sufficient information to
admit or deny the allegations contained in this paragraph and

therefore deny the same.

 

2. Admitted.
3. Admitted.
Jurisdiction and Venue
4, This paragraph contains a conclusion of law which

requires no response.

5. This paragraph contains a conclusion of law which

requires no response.

 

 

 
 

a

Case hO0-cv- 2078 gS Document 24 Filed 0210/0 gee" 54 of 88

6. This paragraph contains a conclusion of law which

requires no response.

Facts

7. Admitted.

8. Admitted.

9. Admitted.

10. Admitted.

11. Admitted.

12. Admitted.

13. The Defendants deny the allegations contained in this
paragraph.

14. The Defendants deny the allegations contained in this
paragraph.

15. The Defendants deny that they defaulted on the
agreement.

16. The Defendants deny that they defaulted on the
agreement.

17. Admitted.

18. Admitted.

19. The Defendants deny the allegations contained in this
paragraph.

20. Cash Technologies denies that it is responsible for

Coin Bank’s obligations.

 

 
 

Case POO-cv-10 7S gS Document 24 Filed erg 55 of 88

21.
22,
itself.
23.
itself.
24,
agreement.
25.
agreement.
26.
agreement.
27,
agreement.
28.
agreement.
29,

paragraph.

30.

Admitted.

The

The

The

The

The

The

The

The

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Breach of

state that the

state that the

deny

deny

deny

deny

deny

deny

agreement speaks for

agreement speaks for

that they defaulted on the

that they defaulted the

that they defaulted on the

that they defaulted on the

that they defaulted on the

the allegations contained in this

COUNT T

Contract Against CoinBank

The Defendants reincorporate and reallege their

responses to paragraphs 1 through 29.

31.

paragraph.

The Defendants deny the allegations contained in this

 

 
 

Case 100-1078 ¢gyeS Document 24 Filed 0210S yee" 56 of 88

32. The Defendants deny the allegations contained in this
paragraph.

33. The Defendants deny the allegations contained in this
paragraph.

34. The Defendants deny the allegations contained in this

paragraph.

COUNT IT

Breach of Contract Against Cash Technologies

35. The Defendants reincorporate and reallege their
responses to paragraphs 1 through 34.

36. The Defendants deny the allegations contained in this
paragraph.

37. The Defendants deny the allegations contained in this
paragraph.

38. The Defendants deny the allegations contained in this
paragraph.

39. The Defendants deny the allegations contained in this
paragraph.

40. The Defendants deny the allegations contained in this
paragraph.

41. The Defendants deny the allegations contained in this

paragraph.

42. The Defendants deny the allegations contained in this

 

 
 

Case PO0-ev- 2072 ges Document 24 Filed O2105/0 gy eee 57 of 88
paragraph.

Prayers For Relief
The remainder of the complaint contains a Prayer for Relief
which requires no response. To the extent that the Request for
Relief sets forth allegations that require a responsive pleading

those allegations are denied.

AFFIRMATIVE DEFENSES
First Affirmative Defense
The Plaintiff's complaint fails to state a claim upon which
relief can be granted.
Second Affirmative Defense
The Plaintiff’s claims are barred by the applicable statute
of limitations.
Third Affirmative Defense
The Plaintiff's claims are barred by laches or estoppel.
Fourth Affirmative Defense
The Plaintiff's claims are barred by the doctrine of unclean
hands.
Fifth Affirmative Defense
The Plaintiff failed to mitigate its damages.
Sixth Affirmative Defense

The Plaintiff has waived any right to assert the claims

-5-

 

 
alleged in its complaint.

. Case P00-cv-10789gg5S Document 24 Filed O2105/0 yee 58 of 88

WHEREFORE, the Defendants request that this Court:

1. Dismiss with prejudice the Plaintiff’s complaint;

2. Award the Defendants interest, costs and attorney's
fees; and

3. Award the Defendants such other and further relief as

this Court deems just and appropriate.

DEFENDANTS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

ERTIFICATE OF SERVI
| hereby certify that a true copy of the
above document was served upon
attomey of record for ec r pa
by sael-hand on 2200 -

paved: /o/>3 OOO

56109

 

CASH TECHNOLOGIES, INC. AND
COIN BANK AUTOMATED SYSTEMS,
by their attorneys,

bh Fo buchurcts

Paul F. Beckwith, BBO #: 550186
Kenneth J. Martin, BBO #: 636643
COOLEY MANION JONES LLP

21 Custom House St.

Boston, MA 02110

(617) 737-3100

INC.

and

Brian C. Daughney, Esq.

GOLDSTEIN & DiGIOIA, LLP

369 Lexington Avenue - 18th Floor
New York, NY 10017

(212) 599-3322

f

 
we Case PON DO mPES Document 24 Filed 2 Page 59 of 88 |

. €,
0 Oe a

UNITED STATES DISTRICT COURT at 3

DISTRICT OF MASSACHUSETTS | Y

 

SHAW'S SUPERMARKETS, INC.,
Plaintiff,

Vv. Civil Action No: OOCV11571 WGY
CASH TECHNOLOGIES, INC. AND
COIN BANK AUTOMATED SYSTEMS,
INC.,

Defendants.

eee ee ee ee ee

 

ANSWER & JURY DEMAND
The Defendants, Cash Technologies, Inc. and Coin Bank
Automated Systems, Inc., hereby respond to the Plaintiff’s

Complaint as follows:

The Parties
1. The Defendants are without sufficient information to
admit or deny the allegations contained in this paragraph and

therefore deny the same.

 

2. Admitted.
3. Admitted.
Jurisdiction and Venue
4. This paragraph contains a conclusion of law which

requires no response.

5. This paragraph contains a conclusion of law which

requires no response.

 
6.

Case moore SORES Document 24 Filed ~@ Page 60 of 88

This paragraph contains a conclusion of law which

requires no response.

10.
11.
12.
13.
paragraph.
14,
paragraph.
15.
agreement.
16.
agreement.
17.
18.
19.
paragraph.
20.

Coin Bank’

Admitted.

Admitted.

Admitted.

Admitted.

Admitted.

Admitted.

The Defendants

The Defendants

The Defendants

The Defendants

Admitted.

Admitted.

The Defendants

deny
deny
deny

deny

deny

Facts

the allegations contained in this

the allegations contained in this

that they defaulted on the

that they defaulted on the

the allegations contained in this

Cash Technologies denies that it is responsible for

s obligations.

 
Case BOO OPES Document 24 Filed @ Page 61 of 88

21.
22.
itself.
23.
itself.
24.
agreement.
25,
agreement.
26.
agreement.
27.
agreement.
28.
agreement.
29,

paragraph.

30.

Admitted.

The

The

The

The

The

The

The

The

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Defendants

Breach of

state that the

state that the

deny

deny

deny

deny

deny

deny

agreement speaks for

agreement speaks for

that they defaulted on the

that they defaulted on the

that they defaulted on the

that they defaulted on the

that they defaulted on the

the allegations contained in this

COUNT I

Contract Against CoinBank

The Defendants reincorporate and reallege their

responses to paragraphs 1 through 29.

31.

paragraph.

The Defendants deny the allegations contained in this

 
Case POOL 0 eres Document 24 Filed °@ Page 62 of 88

32. The Defendants deny the allegations contained in this
paragraph.

33. The Defendants deny the allegations contained in this
paragraph.

34. The Defendants deny the allegations contained in this

paragraph.

COUNT If

Breach of Contract Against Cash Technologies

35. The Defendants reincorporate and reallege their
responses to paragraphs 1 through 34.

36. The Defendants deny the allegations contained in this
paragraph.

37. The Defendants deny the allegations contained in this
paragraph.

38. The Defendants deny the allegations contained in this
paragraph.

39. The Defendants deny the allegations contained in this
paragraph.

40. The Defendants deny the allegations contained in this
paragraph.

41. The Defendants deny the allegations contained in this

paragraph.

42. The Defendants deny the allegations contained in this

 
Case 1:00-cv-10789-PBS Document 24 Filed 7@°: Page 63 of 88

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

CRIMINAL No. /. Ofc k 1005 2- GAO

)
)

Vv. ) VIOLATION:
) 18 U.S.C. § 2113 (a) --
)

MICHAEL FONDANOVA Bank Robbery

INDICTMENT
COUNT ONE: (18 U.S.C. § 2113 (a)-- Bank Robbery)
The Grand Jury charges that:
On or about August 6, 1998, at Dorchester, in the District

of Massachusetts,
MICHAEL FONDANOVA,

defendant herein, by force and violence and by intimidation, did
take From the person and presence of another approximately
$18,988.90, money belonging to, and in the care, custody,
control, management and possession of, the Delta Wye Federal
Crédit Union, 256 Freeport Street, Dorchester, Massachusetts, a
state-chartered credit union the accounts of which were then

insured by the National Credit Union Administration Board.

All in violation of Title 18, United States Code, Section

2113 (a).

 
Case 1:00-cv-10789-PBS Document 24 Filed “oO Page 64 of 88

A TRUE BILL

 

 
 
 
 

pt.

zune Grand Jury

\ — 7
F. Lang 7
“Assi tant United States Attorney

a

 

DISTRICT OF MASSACHUSETTS: February 7, 2001 @) JA: OO FIA

Returned into the District Court by the Grand Jurors and filed.

 

Deputy Clerk

 
JS 45 (1/96) reeves USB yay. ).10789-PBS Documpept 24 Filed 0 /O1 Page 65 of 88

 

 

 

Criminal Case ict istrict Massachusetts
Place of Offense Category No. _TI Investigating Agency FBI

City _Dorchester Related Case Information:

County Suffolk Superseding Indictment___— Docket No. [. Ol CL 0052: (Ah 6

Original Defendant New Defendant
Magistrate Judge Case Number _00-M-0466-RBC
Search Warrant Case Number
R 20/ R 40 from District of

 

 

 

Defendant Information:

 

 

 

 

Defendant Name Michael Fondanova Juvenile: Yes NoX.
Alias Name

Address Incarcerated

Birthdate 5/13/62 _ SS #XXX-XX-XXXX Sex M Race W Nationality USA

 

Defense Counsel if known:___ Elliot Weinstein

Address: _ 228 Lewis Wharf. Boston, MA 02110

U.S. Attorney Information: James F. Lang Phone No. (617) 748-3175
Address: _ 1 Courthouse Way, Suite 9200, Boston, MA 02210

 

 

 

 

Bar No. 546988 Interpreter: XNo [] Yes

List Language and/or dialect: Matter to be SEALED: xX No LJ Yes
LJ Warrant Requested CJ Regular Process X In Custody

Arrest Date
In Federal Custody as of in

X In State Custody at Suffolk County House of Correction

 

X Serving Sentence [| Awaiting Trial CO On Pretrial Release

Offenses Charged: LJ Complaint CO Information xX Indictment
Total # of Counts: LJ Petty. LI Misdemean 5 X Felony 1
Date: February 7, 2001 Signature of AUSA _

 

Continue on naa of U.S.C. Giatonl

(Revised U.S.D.C. MA 8/27/96) Page 2 of 2

 
Case 1:00-cv-10789-PBS Document 24 ae Page 66 of i -
District Court Case Number Ce filled in by deputy clerk): ‘ - b / OO Gwe xf-O

Name of Defendant _ Michael! Fondanova

U.S.C. CITATIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

U.S.C. Citations Description of Offense Charged Count Numbers

Setl 18 U.S.C, § 2113(a) Bank Robbery 1
Set 2
Set 3 :
Set 4 ——
Set 5 ————
Set 6
Set 7
Set 8
Set 9
Set 10
Set ll ——
Set 12 °
Set 13 a

Set 14 ee
Set 15
Set 16
Set 17
Set 18
Set 19 ee
Set 20
Set 21
Set 22 nt
Set 23 ee
ADDITIONAL INFORMATION:

 

 

 

__(erjs45rv.coy - 9/3/96)

 
Case 1:00-cv-10789-PBS Document 24 Filed ce Page 67 of 88

UNITED STATES DISTRICT COURT.
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

-eriminat no. /.O/C@/O05.2- CAD

}
)

Vv. ) VIOLATION:
) 18 U.S.C. § 2113 (a)-
)

MICHAEL FONDANOVA Bank Robbery

INDICTMENT
COUNT ONE: (18 U.S.C. § 2113(a)-- Bank Robbery)
The Grand Jury charges that:
On or about August 6, 1998, at Dorchester, in the District

of Massachusetts,
MICHAEL FONDANOVA,

defendant herein, by force and violence and by intimidation, did
take from the person and presence of another approximately
$18,988.90, money belonging to, and in the care, custody,
control, management and possession of, the Delta Wye Federal
Credit Union, 256 Freeport Street, Dorchester, Massachusetts, a
State-chartered credit union the accounts of which were then

insured by the National Credit Union Administration Board.

All in violation of Title 18, United States Code, Section

2113 (a).

 

 
Case 1:00-cv-10789-PBS Document 24 Filed “@ Page 68 of 88

A TRUE BILL

a

/ Y GL

I ot ye Grand Jury

\ —-—— aD
Ja F. Lang c
Assiatant United States Attorney
oe :

DISTRICT OF MASSACHUSETTS: February 7, 2001 @) 12:00AM

Returned into the District Court by the Grand Jurors and Filed,

 

Deputy Clerk

 
Js 45 (1/96) Revises USB eee 110789-PBS Docunpent 24 Filed 0 /01 .Page 69 of 88

 

 

Criminal Case Cover istrict Cou istrict of Massachusetts
Place of Offense Category No. _II Investigating Agency FBI

City _Dorchester Related Case Information:

County Suffolk Superseding Indictment ___ Docket No._/. Ol C£L{0052-- Ah O

Original Defendant New Defendant
Magistrate Judge Case Number _00-M-0466-RBC
Search Warrant Case Number
R 20/ R 40 from District of

 

 

 

Defendant Information:

 

 

 

 

Defendant Name Michael Fondanova Juvenile: Yes No X.
Alias Name

Address Incarcerated

Birthdate _5/13/62___ SS #XXX-XX-XXXX Sex. M Race W Nationality USA

 

Defense Counsel if known:___ Elliot Weinstein

Address: _ 228 Lewis Wharf, Boston, MA 02110
U.S. Attorney Information: _James F, Lang : : Phone No. (617) 748-3175
Address: _ 1 Courthouse Way, Suite 9200, Boston, MA 02210

 

 

 

Bar No. 546988 Interpreter: x No L] Yes

List Language and/or dialect: Matter to be SEALED: X No CI yes
LJ Warrant Requested O Regular Process Xmc ustody

Arrest Date
In Federal Custody as of in

x In State Custody at Suffolk County House of Correction

 

X Serving Sentence Oo Awaiting Trial UI On Pretrial Release

 

Offenses Charged: LJ Complaint C] Information X Indictment
Total # of Counts: J Petty [J Misdemean 5 X Felony 1
Date: _February 7, 2001 Signature of AUSA;: 2

Continue on net a of U.S.C, ition

(Revised U.S.D.C. MA 8/27/96) Page 2 of 2

 
Case 1:00-cv-10789-PBS Document 24 ee Page 70 of 72
District Court Case Number oe filled in by deputy clerk): é ; rh / OO G2 - xf-O
Name of Defendant __ Michael Fondanova

U.S.C, CITATIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

U.S.C. Citations Description of Offense Charged Count Numbers
Set1l 18 U.S.C. § 2113(a) Bank Robbery 1
Set 2
Set 3
Set 4
Set 5 ————-
Set 6
Set 7 ee
Set 8
Set 9 te
Set 10
Set 11
Set 12 v
Set 13
Set 14 ee _.
Set 15 _ _ .
Set 16 _ _
Set 17
Set 18 ———_____..
Set 19 ——_
Set 20 ————
Set 21
Set 22
Set 23 _.
ADDITIONAL INFORMATION:

 

 

 

_—_{erjs45rv.cov - 9/3/96)

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 71 of 88

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA
v.

CRIMINAL NO. O/ =, 42097 ~ NE

8 U.S.C. § 1326
Tllegal Re-entry of
Deported Alien

MERILIO ANDRES BAUTISTA-

)
)
)

) VIOLATION: -
)
GUZMAN, a/k/a RAFAEL PAREDES  )
)

INDICTMENT
COUNT ONE: 8 U.S.C. § 1326 -- Illegal Re-entry of Deported Alien
The Grand Jury charges that:
On or about November 16, 2000, at Boston, in the District of
Massachusetts,

MERILIO ANDRES BAUTISTA-GUZMAN,
a/k/a RAFAEL PAREDES,

defendant herein, being an alien and having been excluded,
deported and removed from the United States, was found in the
United States without having received the express consent of the
United States Attorney General to reapply for admission to the
United States.

All in violation of Title 8, United States Code, Section

1326,

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 72 of 88

A TRUE BILL

 

“i GRAND JURY

DISTRICT OF MASSACHUSETTS; February 7, 2001.(g) |A:o0 PIA

 

 

ASSISTANT &.S. ATTORNEY

Returned into the District Court by the Grand Jurors and

Bee CLERK

Filed.

 

 
y Case 1:00-cv-10789-PBS Document 24 Filed oe 73 of 88

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JOSEPH LISBON
Plaintiff

V.
CIVIL ACTION: 99-10602-PBS

LUCENT TECHNOLOGIES, INC., et al.
Defendants

JUDGMENT

SARIS, U.S.D.J. February 7, 2001

The Court having allowed the defendants’ motion for summary judgment on October 27,

2000, final judgment is hereby entered in favor of the defendants.

 

By the Court,
CT td ~
DEPUTY CLERK ~ 7

judgment.sj

A.

 
Case How De’: Document 24 Filed ee Page 74 of 88

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

: CIVIL ACTION
NO. 01-10090MLW
SAMUEL R. HATEM,
Plaintiff

Vv.

   

METROPOLITAN LIFE INSURANCE

COMPANY and RAYTHEON ,

TECHNICAL SERVICES,
Defendants

ANSWER OF DEFENDANTS METROPOLITAN LIFE INSURANCE COMPANY AND
RAYTHEON TECHNICAL SERVICES COMPANY

Defendants Metropolitan Life Insurance Company (“MetLife”) and Raytheon Technical
Services Company (“Raytheon”) answer the complaint as follows.

1. Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

2. MetLife admits that it does business in Massachusetts. Otherwise, denied.

3. Raytheon admits that it is a corporation that does business in Massachusetts.
Otherwise, denied.

4, Defendants admit that MetLife is the insurer for the Raytheon Company Short
Term Disability Plan. Defendants state that the second sentence of this paragraph states a legal
conclusion as to which no response is necessary. Otherwise, denied.

5. Denied.

6, Denied.

 

 
Case moore 20 aS Document 24 Filed veo 75 of 88

Troy

7. Defendants deny the first sentence of this paragraph. Defendants state that the
second sentence of this paragraph states a legal conclusion as to which no response is necessary.

8. Denied.

9. Denied.

10. Admitted.

11. Defendants admit that plaintiff worked as an expediter and a supervisor.
Otherwise, denied.

12. Denied.

13. Defendants admit that plaintiff's job has time constraints. Otherwise, denied.

14-20, Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

21. Defendants admit that plaintiff was absent from work beginning on February 12,
2000. Otherwise, denied.

22. Admitted.

23. Denied.

24. Admitted.

295, Defendants state that the plan documents speak for themselves and therefore deny
the allegations of this paragraph.

26. Defendants state that the plan documents speak for themselves and therefore deny
the allegations of this paragraph.

27. Defendants state the MetLife’s responsibilities are set forth in the plan documents

and therefore deny the allegations of this paragraph.

 
Case moore 07 ames Document 24 Filed ne" 76 of 88

28. Defendants state that MetLife’s correspondence speaks for itself and therefore
deny the allegations of this paragraph.

29. Defendants state that MetLife’s correspondence speaks for itself and therefore
deny the allegations of this paragraph.

30. Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

31. Defendants state that MetLife’s correspondence speaks for itself and therefore
deny the allegations of this paragraph.

32. Defendants state that plaintiff's appeal, including any documents submitted in
connection therewith, speak for themselves and therefore deny the allegations of this paragraph.

33. Defendants state that Dr. Masterson’s report speaks for itself and therefore deny
the allegations of this paragraph.

34, Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

35. Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

36. Denied.

37. Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

38. Admitted.

39. Admitted.

40-52. Denied.

 

 
Case moore 207 PS Document 24 Filed "oe 77 of 88

53. Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

54. Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

55-61. Denied.

62. Defendants state that Raytheon’s Employer’s Statement speaks for itself and

therefore deny the allegations of this paragraph.

63. Denied.
64. Denied.
65. Defendants state that the plan documents speak for themselves and therefore deny

the allegations of this paragraph.

66. Defendants state that the plan documents speak for themselves and therefore deny
the allegations of this paragraph.

67. Admitted.

68-70. Denied.

71-73. Defendants state that Raytheon’s employment policies speak for themselves and
therefore deny the allegations of this paragraph.

74, Defendants state the plan documents speak for themselves and therefore deny the
allegations of this paragraph.

75. Denied.

76. Denied.

77-78. Defendants state that Raytheon’s employment policies speak for themselves and

therefore deny the allegations of this paragraph.

 
Case PO0-cv-10 7g Document 24 Filed ne" 78 of 88

79. Denied.

COUNT I
80. Defendants repeat their responses to paragraphs 1-79 above.
81-84. Denied.

COUNT II

85. Defendants repeat their responses to paragraphs 1-79 above.
86-89. Denied.

COUNT III
90. Defendants repeat their responses to paragraphs 1-79 above.
91-93. Denied.

COUNT IV
94. Defendants repeat their responses to paragraphs 1-79 above.
95-96. Denied.

COUNT V
97, Defendants repeat their responses to paragraphs 1-79 above.
98-102. Denied.

AFFIRMATIVE DEFENSES
First Affirmative Defense

The plaintiff's complaint, in whole or in part, fails to state a claim upon which relief can

be granted.

 
Case moore 207 aP> Document 24 Filed "oe 79 of 88

Second Affirmative Defense
The plaintiff's remedies for any of his claims are limited solely to those available under
the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 ef seq., as
those claims are governed exclusively by ERISA.
Third Affirmative Defense
The plaintiff's claims are barred by the terms of the applicable documents and
instruments governing the plan.
Fourth Affirmative Defense
The defendants discharged their duties with respect to the plan in the interest of the plan
participants and their beneficiaries, and in doing so, the defendants acted in accordance with the
documents and instruments governing the plan.

Fifth Affirmative Defense

 

The plaintiffs claims must fail because the defendants’ claims determinations were not
arbitrary, capricious, unreasonable, or made in bad faith.
Sixth Affirmative Defense

The plaintiff has no right to a jury trial under ERISA and his jury demand should be

stricken,

 

 

 
Case moore 107s Document 24 Filed "eo 80 of 88

WHEREFORE, defendants respectfully request that the Court dismiss the complaint,

with prejudice, and award defendants their attorneys fees and costs.

Dated: February 7, 2001

CKDOCS:95395.1

METROPOLITAN LIFE INSURANCE
COMPANY and RAYTHEON TECHNICAL
SERVICES COMPANY,

By their attorneys,

Sel SC_-

James F. Kavanaugh, J r.

BBO# 262360

Stephen S. Churchill

BBO# 564158

CONN KAVANAUGH ROSENTHAL
PEISCH & FORD, LLP

Ten Post Office Square

Boston, MA 02109

(617) 482-8200

CERTIFICATE OF SERVICE
| hereby certify that a tue copy of the
above document was served upon the
attorney of record for each other party
\

by mall-bare oO
‘ Ce

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01—~Page 81 of 88
ea

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
. CIVIL ACTION
NO. 01-10090MLW
SAMUEL R. HATEM,
Plaintiff

Vv.

  

METROPOLITAN LIFE INSURANCE

COMPANY and RAYTHEON

TECHNICAL SERVICES,
Defendants

ANSWER OF DEFENDANTS METROPOLITAN LIFE INSURANCE COMPANY AND
RAYTHEON TECHNICAL SERVICES COMPANY

Defendants Metropolitan Life Insurance Company (“MetLife”) and Raytheon Technical
Services Company (“Raytheon”) answer the complaint as follows.

1, Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

2. MetLife admits that it does business in Massachusetts. Otherwise, denied.

3. Raytheon admits that it is a corporation that does business in Massachusetts.
Otherwise, denied.

4, Defendants admit that MetLife is the insurer for the Raytheon Company Short
Term Disability Plan. Defendants state that the second sentence of this paragraph states a legal
conclusion as to which no response is necessary. Otherwise, denied.

5. Denied.

6. Denied.

 

 

 
 

Case BOON OT a Document 24 Filed ee 82 of 88

53. Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

54. Defendants currently lack knowledge or information sufficient to form a belief as
to the truth of the allegations of this paragraph.

55-61. Denied.

62. Defendants state that Raytheon’s Employer’s Statement speaks for itself and
therefore deny the allegations of this paragraph.

63. Denied,

64. Denied.

65. Defendants state that the plan documents speak for themselves and therefore deny
the allegations of this paragraph.

66. Defendants state that the plan documents speak for themselves and therefore deny
the allegations of this paragraph.

67. Admitted.

68-70. Denied.

71-73. Defendants state that Raytheon’s employment policies speak for themselves and
therefore deny the allegations of this paragraph.

74. Defendants state the plan documents speak for themselves and therefore deny the
allegations of this paragraph.

75. Denied.

76. Denied.

77-78. Defendants state that Raytheon’s employment policies speak for themselves and

therefore deny the allegations of this paragraph.

 

 
 

Case P00-cv-107° aus Document 24 Filed eo 83 of 88

79, Denied.

COUNT I
80. Defendants repeat their responses to paragraphs 1-79 above.
81-84. Denied.

COUNT II

85. Defendants repeat their responses to paragraphs 1-79 above.
86-89. Denied.

COUNT III
90. Defendants repeat their responses to paragraphs 1-79 above.
91-93. Denied.

COUNT IV
94. Defendants repeat their responses to paragraphs 1-79 above.
95-96. Denied.

COUNT V
97. Defendants repeat their responses to paragraphs 1-79 above.
98-102. Denied.

AFFIRMATIVE DEFENSES
First Affirmative Defense

The plaintiff's complaint, in whole or in part, fails to state a claim upon which relief can

be granted.

 

 
 

Case PO0-cv-107° gS Document 24 Filed ee 84 of 88

Second Affirmative Defense

 

The plaintiff's remedies for any of his claims are limited solely to those available under
the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seq., as
those claims are governed exclusively by ERISA.

Third Affirmative Defense

 

The plaintiff's claims are barred by the terms of the applicable documents and
instruments governing the plan.

Fourth Affirmative Defense

 

The defendants discharged their duties with respect to the plan in the interest of the plan
participants and their beneficiaries, and in doing so, the defendants acted in accordance with the
documents and instruments governing the plan.

Fifth Affirmative Defense

The plaintiff's claims must fail because the defendants’ claims determinations were not

arbitrary, capricious, unreasonable, or made in bad faith.
Sixth Affirmative Defense
The plaintiff has no right to a jury trial under ERISA and his Jury demand should be

stricken.

 

 
 

Case PO0-cv-1 07° a> Document 24 Filed 02/05/01 e” 85 of 88

WHEREFORE, defendants respectfully request that the Court dismiss the complaint,

with prejudice, and award defendants their attorneys fees and costs.

Dated: February 7, 2001

CKDOCS:95395.1

METROPOLITAN LIFE INSURANCE
COMPANY and RAYTHEON TECHNICAL
SERVICES COMPANY,

By their attorneys,

Sel SCL

James F, Kavanaugh, Jr.

BBO# 262360

Stephen 8S. Churchill

BBO# 564158

CONN KAVANAUGH ROSENTHAL
PEISCH & FORD, LLP

Ten Post Office Square

Boston, MA 02109

(617) 482-8200

CERTIFICATE OF SERVICE
| hereby certify that q true copy of the
above document was S€tved upon the
attorney of record for each other party
\

by mall-perre! oO
Lf Ce

 

 
EIEIO
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 86 of 88

6. Defendant Chargeurs is without sufficient information to admit or deny the

allegations of paragraph 6.

7. Defendant Chargeurs is without sufficient information to admit or deny the

allegations of paragraph 7.

8. Defendant Chargeurs is without sufficient information to admit or deny the

allegations of paragraph 8.

9. Denied.
10. Denied.
11,

Defendant Chargeurs is without sufficient information to admit or deny the

allegations of paragraph 11.
12. Denied.

13. Defendant Chargeurs is without sufficient information to admit or deny the
allegations of paragraph 13.

14. Denied.

WHEREFORE, Defendant Chargeurs requests that this Court dismiss the Complaint, that

it not otherwise be held liable for any losses or claims of Plaintiff and that it award Defendant

Chargeurs its costs and attorneys fees.

The complaint fails to state a claim upon which relief can be granted.
Second Affirmative Defense

The complaint should be dismissed as the Court has no jurisdiction over Defendant

   
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page

 

Chargeurs.
ir irmati efense
The Complaint should be dismissed for insufficient service of process upon Defendant
Chargeurs.
Fo Affirmative D:
The Complaint should be dismissed due to insufficiency of service over Defendant
Chargeurs.
ati nse
The Complaint should be dismissed as Plaintiff is estopped.
ti se
The Complaint should be dismissed as there is accord and satisfaction.
enth Affirmative Defens
The Complaint should be dismissed as insufficient demand has been made pursuant to the
Guaranty.
Defendant Chargeurs hereby requests the Court dismiss it or otherwise enter judgment,
including attorneys fees, on its behalf.
0 G D NDANT D ION TI C,
For its Crossclaim against Defendant Dominion Textile, Inc. ("Defendant Dominion"),
Defendant Chargeurs states as follows:
1. Defendant Dominion guaranteed obligations of DHJ Plastics, Inc. arising pursuant
to a lease between the Plaintiff and DHJ Plastics, Inc.

2. The Guaranty obligates Defendant Dominion to Plaintiff for certain liabilities

 

 

 

 
Case 1:00-cv-10789-PBS Document 24 Filed 02/05/01 Page 88 of 88

relating to the lease between Plaintiff and DHJ Plastics, Inc.

3. To the extent that Defendant Chargeurs is obligated to Plaintiff, pursuant to the
Guaranty and other contractual or legal obligations, Defendant Dominion shall indemnify
Defendant Chargeurs and hold harmless Defendant Chargeurs.

WHEREFORE, Defendant Chargeurs requests that this Court enter judgment that
Defendant Dominion shall indemnify, defend or hold harmless Defendant Chargeurs for any
liability hereunder, including its costs and attorneys fees.

CHARGEURS TEXTILES S.A.,

By their afiOrmeys,

 

Bonald R. Pinto, Jr., BBO #548421

Robert B. Foster, BBO #563347
RACKEMANN, SAWYER & BREWSTER, P.C.
One Financial Center

Boston, MA 02111

(617) 542-2300

Dated: December 14, 2000
Certifi F Service
I, Robert B. Foster, counsel for the defendant Chargeurs Textiles S.A., hereby certify that

I have this day served a copy of the foregoing upo ther parties, by mail.

Robert B. Foster _

GALIT\10389\2\A0088735,.DOC

 

 
